USCA11 Case: 23-10986    Document: 45-1     Date Filed: 08/27/2024   Page: 1 of 7




                                                  [DO NOT PUBLISH]
                                   In the
                United States Court of Appeals
                        For the Eleventh Circuit

                          ____________________

                                No. 23-10986
                          Non-Argument Calendar
                          ____________________

       UNITED STATES OF AMERICA,
                                                      Plaintiﬀ-Appellee,
       versus
       JOSE MANUEL RIVERA-MUNOZ,


                                                  Defendant-Appellant.


                          ____________________

                 Appeal from the United States District Court
                     for the Northern District of Florida
                  D.C. Docket No. 5:19-cr-00071-RH-MJF-1
                          ____________________
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       2                      Opinion of the Court                  23-10986

       Before JILL PRYOR, BRANCH, and ANDERSON, Circuit Judges.
       PER CURIAM:
             Jose Manuel Rivera-Munoz appeals his conviction for illegal
       reentry after deportation, in violation of 8 U.S.C. § 1326(a), chal-
       lenging the suﬃciency of the evidence against him as to whether
       he was “voluntarily in the United States” and contesting the consti-
       tutionality of the “found in” provision of 8 U.S.C. § 1326 as void for
       vagueness. Both challenges are raised for the ﬁrst time on appeal.
                          I. Sufficiency of the Evidence
              Generally, we review de novo whether evidence is suﬃcient
       to support a conviction. United States v. Fries, 725 F.3d 1286, 1291
       (11th Cir. 2013). However, when “a defendant does not move for
       acquittal or otherwise preserve an argument regarding the suﬃ-
       ciency of the evidence in the court below, [he] must shoulder a
       somewhat heavier burden: we will reverse the conviction only
       where doing so is necessary to prevent a manifest miscarriage of
       justice.” Id. (quotation marks omitted). Speciﬁcally, the manifest
       miscarriage of justice standard requires us to ﬁnd “either that the
       record is devoid of evidence of an essential element of the crime
       or that the evidence on a key element of the oﬀense is so tenuous
       that a conviction would be shocking.” United States v. Waters, 937
       F.3d 1344, 1356 (quotation marks omitted). In addition, we review
       the evidence “in the light most favorable to the government and
       accept all reasonable inferences and credibility determinations that
       support the jury’s verdict.” United States v. Milkintas, 470 F.3d 1339,
       1343 (11th Cir. 2006). “The test for suﬃciency of the evidence is
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       23-10986               Opinion of the Court                        3

       identical[,] regardless of whether the evidence is direct or circum-
       stantial, but if the government relied on circumstantial evidence,
       reasonable inferences, not mere speculation, must support the con-
       viction.” United States v. Martin, 803 F.3d 581, 587-88 (11th Cir.
       2015) (quotation marks and citations omitted, alteration in origi-
       nal).
               It is unlawful for an alien to, without express permission,
       reenter the United States after they were previously denied admis-
       sion, excluded, deported, or removed from the United States.
       8 U.S.C. § 1326(a). To demonstrate that a defendant unlawfully
       reentered the United States after deportation under 8 U.S.C.
       § 1326(a), the government must prove beyond a reasonable doubt:
       “(1) that the defendant is an alien, (2) that the defendant has been
       arrested and deported from the United States, and (3) that thereaf-
       ter the defendant was found in the United States without the Attor-
       ney General’s express consent to reapply for admission.” United
       States v. Henry, 111 F.3d 111, 113 (11th Cir. 1997). We clariﬁed that
       “speciﬁc intent is not an element of the oﬀense of illegal reentry
       into the United States after deportation.” Id. at 114. Instead, the
       government may prove the defendant’s general intent by showing
       that he took a voluntary act by reentering the United States. See id.             Moreover, “when a jury instruction sets forth all the ele-
       ments of the charged crime but incorrectly adds one more ele-
       ment, a suﬃciency challenge should be assessed against the ele-
       ments of the charged crime, not against the erroneously height-
       ened command in the jury instruction”—even when the
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       4                       Opinion of the Court                  23-10986

       government failed to object to the error in the jury instruction.
       Musacchio v. United States, 577 U.S. 237, 241, 243-45. “All that a de-
       fendant is entitled to on a suﬃciency challenge is for the court to
       make a legal determination whether the evidence was strong
       enough to reach a jury at all.” Id. at 244 (quotation marks omitted).
       “A reviewing court’s limited determination on suﬃciency review
       thus does not rest on how the jury was instructed.” Id. at 243. If
       the jury ﬁnds guilt on the essential elements of the charged crime,
       the defendant has had a “meaningful opportunity to defend”
       against the charge. Id. at 243-44 (quoting Jackson v. Virginia, 443 U.S.
       307, 314 (1979)). Thus, the government’s failure to introduce evi-
       dence of an additional element does not implicate the principles
       that suﬃciency review protects. Id. at 243.
              As noted above, the three elements of the crime charged are:
       (1) that Rivera-Munoz is an alien; (2) that he was previously ar-
       rested and deported from the United States; and (3) that thereafter
       he was found in the United States without the Attorney General’s
       express consent to reapply for admission. However, the jury in-
       structions in this case added a fourth requirement; the jury was told
       it had to ﬁnd that Rivera-Munoz was voluntarily in the United
       States. In this appeal, Rivera-Munoz challenges only this fourth re-
       quirement imposed unnecessarily by the jury instruction. How-
       ever, as also noted above, the suﬃciency issue focuses only on the
       statutory elements rather than on the unnecessary additional re-
       quirement imposed by the jury instruction. Moreover, because Ri-
       vera-Munoz did not move for acquittal in the district court or oth-
       erwise preserve a suﬃciency issue, we review only for a manifest
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       23-10986               Opinion of the Court                          5

       miscarriage of justice. And, as also noted above, the statutory ele-
       ment—i.e. found in the United States without the Attorney Gen-
       eral’s express consent to reapply for admission—requires proof
       only of a defendant’s general intent to reenter without permission.
               Here, there is of course overwhelming evidence that Rivera-
       Munoz was found in the United States without permission to be
       here and that he knew that he was prohibited from reentering the
       United States without permission. There is no evidence that he
       appeared in the United States mistakenly, accidentally, or in any
       manner other than his own voluntary act of entering the United
       States. On two previous occasions—in 2009 and 2017—he admit-
       ted that he entered the United States illegally to get work. We read-
       ily conclude that Rivera-Munoz’s conviction on the evidence here
       falls far short of a manifest miscarriage of justice.
                                  II. Vagueness
               Ordinarily, we review constitutional claims de novo. United
       States v. Lewis, 40 F.4th 1229, 1246 (11th Cir. 2022). However, if the
       defendant does not raise the constitutional challenge below, we re-
       view the defendant’s arguments for plain error. Id. “To establish
       plain error, a defendant must show (1) error; (2) that is plain;
       (3) that aﬀects his substantial rights; and (4) that seriously aﬀects
       the fairness, integrity, or public reputation of judicial proceedings.”
       Id. “An error is not plain unless it is contrary to explicit statutory
       provisions or to on-point precedent in this Court or the Supreme
       Court.” United States v. Schultz, 565 F.3d 1353, 1357 (11th Cir. 2009).
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       6                          Opinion of the Court                       23-10986

              In Canals-Jimenez, we noted that the “found in” requirement
       under 8 U.S.C. § 1326 could present a vagueness issue for individu-
       als who enter the United States and present themselves at an oﬃcial
       border checkpoint. United States v. Canals-Jimenez, 943 F.2d 1284,
       1289-90 (11th Cir. 1991). However, we also explained that the
       “found in” provision “may well properly be an oﬀense which is not
       void for vagueness” when applied to individuals who enter the
       United States surreptitiously. Id. Moreover, we recognized “that a
       plausible argument can be made that the statute does advise a de-
       fendant as to what conduct by that defendant will avoid the com-
       mission of a crime.” Id. at 1289. In particular, a defendant “could
       leave the United States.” Id. In support, we noted that
       “[§] 1326 was passed to fulﬁll the purpose of being able to prose-
       cute aliens who are illegally present in the country and entered the
       country surreptitiously.” Id. Ultimately, we chose to avoid the
       vagueness issue as the case could be resolved on other grounds. Id.
       at 1289-90 (“We do not decide the issue of the constitutionality of
       this portion of the statute against a claim of void for vagueness be-
       cause it is not necessary to the decision of this case.”).1

       1 In United States v. Gay, 7 F.3d 200, 202 (11th Cir. 1993), the defendant argued

       that Canals-Jimenez had held that “found in” the United States, in § 1326, ap-
       plies only to aliens “found in” the United States after surreptitious entry by-
       passing recognized immigration ports of entry. We rejected that argument in
       Gay, and held that the statement to that effect in Canals-Jimenez was dicta, and
       that Gay was properly convicted under § 1326 when he was “found in” Miami
       after having illegally reentered the United States through a recognized immi-
       gration port of entry (Kennedy International Airport) using the passport he
       should have turned in (but did not) when he was deported.
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       23-10986              Opinion of the Court                       7

              In his brief on appeal Rivera-Munoz acknowledges that Ca-
       nals-Jimenez did not resolve the issue of whether the “found in”
       clause in § 1326 is unconstitutional for vagueness. Because our re-
       view of this vagueness issue is only pursuant to the plain error
       standard, and because neither this Court nor the Supreme Court
       has held that the clause is unconstitutionally vague, Rivera-
       Munoz’s challenge fails.
             For the foregoing reasons, the judgment of the district court
       is
             AFFIRMED.
